         Case 23-32662-mvl11                    Doc 67        Filed 01/22/24 Entered 01/22/24 17:06:16                 Desc Main
Fill in this information to identify the case:
                                                             Document     Page 1 of 21

                 Frederick Lee Press Plumbing, LLC
Debtor Name __________________________________________________________________


                                        Northern District
United States Bankruptcy Court for the: _______  Districtofof________
                                                              Texas

                                                                                                                      Check if this is an
Case number: ___-32662______________________
                                                                                                                        amended filing




Official Form 425C

Monthly Operating Report for Small Business Under Chapter 11                                                                             12/17

Month:                December 2023
                     ___________                                                                Date report filed:    ___________
                                                                                                                      MM / DD / YYYY

                   Plumbing
Line of business: ________________________
                                _                                                               NAISC code:           ___________

In accordance with title 28, section 1746, of the United States Code, I declare under penalty of perjury
that I have examined the following small business monthly operating report and the accompanying
attachments and, to the best of my knowledge, these documents are true, correct, and complete.

Responsible party:                           Nathan Smith
                                             ____________________________________________

Original signature of responsible party      ____________________________________________

Printed name of responsible party            ____________________________________________


              1. Questionnaire
    Answer all questions on behalf of the debtor for the period covered by this report, unless otherwise indicated.
                                                                                                                           Yes
                                                                                                                           Y es    No        N/A
          If you answer No to any of the questions in lines 1-9, attach an explanation and label it Exhibit A.

    1.   Did the business operate during the entire reporting period?                                                                      
                                                                                                                         x
    2.   Do you plan to continue to operate the business next month?                                                                       
    3.   Have you paid all of your bills on time?                                                                                         
                                                                                                                         x
    4.   Did you pay your employees on time?                                                                                               
                                                                                                                         x                 
    5.   Have you deposited all the receipts for your business into debtor in possession (DIP) accounts?
    6.   Have you timely filed your tax returns and paid all of your taxes?                                                               
    7.   Have you timely filed all other required government filings?
                                                                                                                                          
    8.   Are you current on your quarterly fee payments to the U.S. Trustee or Bankruptcy Administrator?                                   
    9.   Have you timely paid all of your insurance premiums?                                                                              
          If you answer Yes to any of the questions in lines 10-18, attach an explanation and label it Exhibit B.
    10. Do you have any bank accounts open other than the DIP accounts?                                                                   
    11. Have you sold any assets other than inventory?                                                                                    
    12. Have you sold or transferred any assets or provided services to anyone related to the DIP in any way?                             
    13. Did any insurance company cancel your policy?                                                                     
                                                                                                                                           
    14. Did you have any unusual or significant unanticipated expenses?
                                                                                                                                          
    15. Have you borrowed money from anyone or has anyone made any payments on your behalf?
                                                                                                                          
                                                                                                                                           
    16. Has anyone made an investment in your business?                                                                   
                                                                                                                                           
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Debtor Name   _______________________________________________________                             23-32662
                                                                                      Case number_____________________________________




    17. Have you paid any bills you owed before you filed bankruptcy?                                                            
                                                                                                                                  ✔      
    18. Have you allowed any checks to clear the bank that were issued before you filed bankruptcy?                              
                                                                                                                                  ✔      


              2. Summary of Cash Activity for All Accounts

    19. Total opening balance of all accounts
                                                                                                                               91,816.64
                                                                                                                            $ __________
        This amount must equal what you reported as the cash on hand at the end of the month in the previous
        month. If this is your first report, report the total cash on hand as of the date of the filing of this case.

    20. Total cash receipts
        Attach a listing of all cash received for the month and label it Exhibit C. Include all
        cash received even if you have not deposited it at the bank, collections on
        receivables, credit card deposits, cash received from other parties, or loans, gifts, or
        payments made by other parties on your behalf. Do not attach bank statements in
        lieu of Exhibit C.
        Report the total from Exhibit C here.                                                            310,057.84
                                                                                                      $ __________

    21. Total cash disbursements
        Attach a listing of all payments you made in the month and label it Exhibit D. List the
        date paid, payee, purpose, and amount. Include all cash payments, debit card
        transactions, checks issued even if they have not cleared the bank, outstanding
        checks issued before the bankruptcy was filed that were allowed to clear this month,
        and payments made by other parties on your behalf. Do not attach bank statements
        in lieu of Exhibit D.
                                                                                                      - $ __________
                                                                                                          240,458.09
        Report the total from Exhibit D here.

    22. Net cash flow
                                                                                                                              69,599.75
                                                                                                                         + $ __________
        Subtract line 21 from line 20 and report the result here.
        This amount may be different from what you may have calculated as net profit.

    23. Cash on hand at the end of the month
        Add line 22 + line 19. Report the result here.
                                                                                                                             161,416.39
        Report this figure as the cash on hand at the beginning of the month on your next operating report.              = $ __________
        This amount may not match your bank account balance because you may have outstanding checks that
        have not cleared the bank or deposits in transit.



              3. Unpaid Bills
        Attach a list of all debts (including taxes) which you have incurred since the date you filed bankruptcy but
        have not paid. Label it Exhibit E. Include the date the debt was incurred, who is owed the money, the
        purpose of the debt, and when the debt is due. Report the total from Exhibit E here.

    24. Total payables                                                                                                               0.00
                                                                                                                            $ ____________

               (Exhibit E)




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Debtor Name   _______________________________________________________                                23-32662
                                                                                         Case number_____________________________________




              4. Money Owed to You
        Attach a list of all amounts owed to you by your customers for work you have done or merchandise you
        have sold. Include amounts owed to you both before, and after you filed bankruptcy. Label it Exhibit F.
        Identify who owes you money, how much is owed, and when payment is due. Report the total from
        Exhibit F here.
    25. Total receivables                                                                                                         727,844.19
                                                                                                                               $ ____________

               (Exhibit F)



              5. Employees

    26. What was the number of employees when the case was filed?
                                                                                                                                          18
                                                                                                                                 ____________

    27. What is the number of employees as of the date of this monthly report?
                                                                                                                                          17
                                                                                                                                 ____________




              6. Professional Fees
    28. How much have you paid this month in professional fees related to this bankruptcy case?
                                                                                                                                    2,500.00
                                                                                                                               $ ____________

    29. How much have you paid in professional fees related to this bankruptcy case since the case was filed?                       5,000.00
                                                                                                                               $ ____________

    30. How much have you paid this month in other professional fees?                                                                    0.00
                                                                                                                               $ ____________

    31. How much have you paid in total other professional fees since filing the case?                                                   0.00
                                                                                                                               $ ____________




              7. Projections

        Compare your actual cash receipts and disbursements to what you projected in the previous month.
        Projected figures in the first month should match those provided at the initial debtor interview, if any.

                                        Column A                     Column B                      Column C
                                        Projected                –   Actual                    =   Difference

                                        Copy lines 35-37 from        Copy lines 20-22 of           Subtract Column B
                                        the previous month’s         this report.                  from Column A.
                                        report.
                                        $ 350,000.00
                                          ____________           –     310,057.84
                                                                     $ ____________
                                                                                               =       39,942.16
                                                                                                   $ ____________
    32. Cash receipts
                                        $ 280,000.00                   240,458.09              =       39,541.91
    33. Cash disbursements                ____________           –   $ ____________                $ ____________

                                           70,000.00             –      69,599.75              =          400.25
    34. Net cash flow                   $ ____________               $ ____________                $ ____________


    35. Total projected cash receipts for the next month:                                                                         325,000.00
                                                                                                                                $ ____________

    36. Total projected cash disbursements for the next month:                                                                - $ ____________
                                                                                                                                  240,000.00

    37. Total projected net cash flow for the next month:
                                                                                                                              = $ ____________
                                                                                                                                    85,000.00




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Debtor Name   _______________________________________________________                            23-32662
                                                                                     Case number_____________________________________




              8. Additional Information
    If available, check the box to the left and attach copies of the following documents.

    
    ✔ 38. Bank statements for each open account (redact all but the last 4 digits of account numbers).

     39. Bank reconciliation reports for each account.

     40. Financial reports such as an income statement (profit & loss) and/or balance sheet.

     41. Budget, projection, or forecast reports.

     42. Project, job costing, or work-in-progress reports.




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                                                                                                                                                        December 05, 2023 through December 29, 2023
                              JPMorgan Chase Bank, N.A.
                                                                                                                                                          Account Number:   6026
                              P O Box 182051
                              Columbus, OH 43218 - 2051

                                                                                                                                                       CUSTOMER SERVICE INFORMATION

                                                                                                                                                       Web site:                 www.Chase.com
                                                                                                                                                       Service Center:             1-877-425-8100
                              00016492 DRE 201 152 00424 NNNNNNNNNNN T 1 000000000 D7 0000                                                             Para Espanol:               1-888-622-4273
                              FREDRICK LEE PRESS PLUMBING, LLC                                                                                         International Calls:         1-713-262-1679
                              DEBTOR IN POSSESSION CASE NO 23-32662                                                                                    We accept operator relay calls
                              9056 FM 1641
                              TERRELL TX 75160-7366




                                                                                                                                                                                                            00164920601000000026
                                                                                                                    Chase Platinum Business Checking
                       CHECKING SUMMARY
                                                                                                                       INSTANCES                   AMOUNT

                     Beginning Balance                                                                                                                  $0.00
                     Deposits and Additions                                                                                   34                265,951.97
                     Checks Paid                                                                                              57                 -69,898.84
                     ATM & Debit Card Withdrawals                                                                            199                 -29,479.20
                     Electronic Withdrawals                                                                                   26                -110,799.51
                     Other Withdrawals                                                                                         1                  -2,400.00
                     Fees                                                                                                      1                       -20.00
                     Ending Balance                                                                                          318                 $53,354.42


         Your Chase Platinum Business Checking account provides:
         •  No transaction fees for unlimited electronic deposits (including ACH, ATM, wire, Chase Quick Deposit)
         •  500 debits and non-electronic deposits (those made via check or cash in branches) per statement cycle
         •  $25,000 in cash deposits per statement cycle
         •  Unlimited return deposited items with no fee

         There are additional fee waivers and benefits associated with your account  please refer to your Deposit Account
         Agreement for more information.


            DEPOSITS AND ADDITIONS
                  DATE                DESCRIPTION                                                                                                                                                  AMOUNT

             12/05                    Transfer From Chk Xxxxx9198                                                                                                                           $21,690.44
             12/05                    Transfer From Sav Xxxxxx5933                                                                                                                                1.00
             12/06                    Online Transfer From Chk 9198 Transaction#: 19213282771
                                                                 ................................................                                                                             6,431.90
             12/07                    Remote Online Deposit        4                                                                                                                          2,468.56
             12/07                    Remote Online Deposit        4                                                                                                                          1,257.23
             12/08                    Remote Online Deposit        4                                                                                                                          1,014.01
             12/08                    Orig CO Name:Fredrick Lee Pre      Orig ID:124303243 Desc Date:  CO Entry                                                                               10,000.00
                                      Descr:Transfer Sec:CCD     Trace#:124303245653696 Eed:231208 Ind ID:
                                      Ind Name:Fredrick Lee Press Plu Trn: 3425653696Tc
             12/08                    Orig CO Name:Intuit         Orig ID:9215986206 Desc Date:231208 CO Entry                                                                                       0.24
                                      Descr:Acctverifysec:PPD Trace#:021000029561919 Eed:231208 Ind ID:
                                      Ind Name:Fredrick Lee Press Plu Trn: 3429561919Tc
             12/08                    Orig CO Name:Intuit         Orig ID:9215986206 Desc Date:231208 CO Entry                                                                                       0.09
                                      Descr:Acctverifysec:PPD Trace#:021000029561918 Eed:231208 Ind ID:
                                      Ind Name:Fredrick Lee Press Plu Trn: 3429561918Tc
*end*deposits and additions




                                                                                                                                                                                    Page 1 of 12
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                                                                                                                                        Account Number:    6026



                                                                                                          (continued)

                  DATE          DESCRIPTION                                                                                                                               AMOUNT

             12/11              Remote Online Deposit          4                                                                                                     8,649.61
             12/11              Online Transfer From Chk 9198 Transaction#: 19261364929
                                                       ................................................                                                              1,306.05
             12/12              Remote Online Deposit          4                                                                                                       468.71
             12/13              Card Purchase Return 12/12 The Home Depot 6816 Dallas TX Card 6838                                                                     111.61
             12/13              Remote Online Deposit          4                                                                                                    11,569.62
             12/14              Remote Online Deposit          4                                                                                                     6,728.46
             12/14              Orig CO Name:Fredrick Lee Pre      Orig ID:124303243 Desc Date:   CO Entry                                                          10,000.00
                                Descr:Transfer Sec:CCD     Trace#:124303244845814 Eed:231214 Ind ID:
                                Ind Name:Fredrick Lee Press Plu Trn: 3484845814Tc
             12/15              Card Purchase Return 12/14 Moore Supply Richland Hill TX Card 6804                                                                      31.13
             12/15              Remote Online Deposit          4                                                                                                    22,441.67
             12/15              Orig CO Name:Fredrick Lee Pre      Orig ID:124303243 Desc Date:   CO Entry                                                          40,000.00
                                Descr:Transfer Sec:CCD     Trace#:124303246243572 Eed:231215 Ind ID:
                                Ind Name:Fredrick Lee Press Plu Trn: 3496243572Tc
             12/18              Orig CO Name:Fredrick Lee Pre      Orig ID:124303243 Desc Date:   CO Entry                                                          10,000.00
                                Descr:Transfer Sec:CCD     Trace#:124303248892749 Eed:231218 Ind ID:
                                Ind Name:Fredrick Lee Press Plu Trn: 3528892749Tc
             12/19              Remote Online Deposit          4                                                                                                    15,840.38
             12/19              Orig CO Name:Rre Parkridge Ho     Orig ID:2281350645 Desc Date:231219 CO Entry                                                      12,048.59
                                Descr:Achpmt    Sec:CCD     Trace#:051000015912845 Eed:231219 Ind ID:2644
                                Ind Name:Fred's Plumbing Trn: 3535912845Tc
             12/20              Remote Online Deposit          4                                                                                                     9,943.70
             12/20              Orig CO Name:Fredrick Lee Pre      Orig ID:124303243 Desc Date:   CO Entry                                                          10,000.00
                                Descr:Transfer Sec:CCD     Trace#:124303249755776 Eed:231220 Ind ID:
                                Ind Name:Fredrick Lee Press Plu Trn: 3549755776Tc
             12/21              Card Purchase Return 12/20 The Home Depot 6804 Dallas TX Card 8271                                                                     268.04
             12/21              Remote Online Deposit          4                                                                                                    10,000.00
             12/22              Remote Online Deposit          4                                                                                                     5,059.07
             12/26              Remote Online Deposit          4                                                                                                     6,212.09
             12/26              Remote Online Deposit          4                                                                                                     6,153.44
             12/27              Card Purchase Return 12/26 The Home Depot 527 Plano TX Card 6838                                                                        76.76
             12/27              Remote Online Deposit          4                                                                                                     1,500.57
             12/28              Remote Online Deposit          4                                                                                                    15,000.00
             12/29              Remote Online Deposit          4                                                                                                     3,679.00
             12/29              Orig CO Name:Fredrick Lee Pre      Orig ID:124303243 Desc Date:   CO Entry                                                          16,000.00
                                Descr:Transfer Sec:CCD     Trace#:124303242099546 Eed:231229 Ind ID:
                                Ind Name:Fredrick Lee Press Plu Trn: 3632099546Tc
            Total Deposits and Additions                                                                                                                        $265,951.97


            CHECKS PAID
                                                                                                                                                 DATE
       CHECK NO.                      DESCRIPTION                                                                                                PAID                     AMOUNT

         1001               ^                                                                                                                     12/15             $1,434.22
         1002               ^                                                                                                                     12/22              1,282.55
         1003               ^                                                                                                                     12/15              1,703.49
         1004               ^                                                                                                                     12/15                300.00
         1005               ^                                                                                                                     12/26                900.28
         1006               ^                                                                                                                     12/14              1,572.83
         1007               ^                                                                                                                     12/15                168.52
         1008               ^                                                                                                                     12/26                113.77
         1009               ^                                                                                                                     12/19              4,296.21
         1010               ^                                                                                                                     12/21                743.96
         1011               ^                                                                                                                     12/22              2,039.99
*end*checks paid section3




                                                                                                                                                           Page 2 of 12
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                                                                                               Account Number:    6026



                                           (continued)
            CHECKS PAID
                                                                                                        DATE
        CHECK NO.                  DESCRIPTION                                                          PAID                     AMOUNT

        1012 ^                                                                                           12/21               1,193.15
        1014 * ^                                                                                         12/27               2,187.74
        1015 ^                                                                                           12/26                 513.36
        1016 ^                                                                                           12/22               1,314.40
        1017 ^                                                                                           12/22               1,463.23




                                                                                                                                          10164920602000000066
        1020 * ^                                                                                         12/22                 776.83
        1021 ^                                                                                           12/26               1,846.80
        1022 ^                                                                                           12/22               1,294.31
        1023 ^                                                                                           12/26               1,188.58
        1024 ^                                                                                           12/22               2,225.33
        1025 ^                                                                                           12/28                 860.00
        1026 ^                                                                                           12/29               1,585.66
        1027 ^                                                                                           12/28               1,052.83
        1028 ^                                                                                           12/28                 500.00
        1031 * ^                                                                                         12/29               2,059.61
        1032 ^                                                                                           12/29               1,211.95
        1036 * ^                                                                                         12/29                 840.52
        1039 * ^                                                                                         12/29               1,464.83
        1041 * ^                                                                                         12/29                 270.05
        5050 * ^                                                                                         12/07               2,245.33
        5051 ^                                                                                           12/07               1,407.71
        5052 ^                                                                                           12/11                 812.79
        5053 ^                                                                                           12/08               2,210.77
        5054 ^                                                                                           12/08               1,279.80
        5055 ^                                                                                           12/08               1,326.61
        5056 ^                                                                                           12/19               1,173.46
        5057 ^                                                                                           12/12               1,869.74
        5058 ^                                                                                           12/12                 525.00
        5059 ^                                                                                           12/12                 755.31
        5060 ^                     12/08                                                                 12/08               1,517.33
        5061 ^                                                                                           12/08               1,189.83
        5062 ^                                                                                           12/18                 990.93
        5063 ^                                                                                           12/08               2,039.99
        5064 ^                                                                                           12/07                 700.00
        5065 ^                                                                                           12/12                  27.05
        5066 ^                                                                                           12/18                 279.63
        5067 ^                     12/08                                                                 12/08                  55.00
        5068 ^                                                                                           12/18                 659.70
        5069 ^                                                                                           12/15               1,119.65
        5070 ^                                                                                           12/15                 822.47
        5071 ^                                                                                           12/19               1,289.30
        5072 ^                                                                                           12/15               1,220.49
        5073 ^                                                                                           12/19               2,182.54
        5074 ^                                                                                           12/19                 941.40
        5075 ^                                                                                           12/15               1,459.48
*end*checks paid section3




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                                                                                                      Account Number:    6026



                                             (continued)
          CHECKS PAID
                                                                                                                DATE
      CHECK NO.                       DESCRIPTION                                                               PAID                    AMOUNT

      5076 ^                                                                                                    12/15               1,392.53
           Total Checks Paid                                                                                                     $69,898.84

          If you see a description in the Checks Paid section, it means that we received only electronic information about the check,
          not the original or an image of the check. As a result, we're not able to return the check to you or show you an image.
          * All of your recent checks may not be on this statement, either because they haven't cleared yet or they were listed on
            one of your previous statements.
          ^ An image of this check may be available for you to view on Chase.com.


          ATM & DEBIT CARD WITHDRAWALS
                  DATE       DESCRIPTION                                                                                                AMOUNT

               12/05         Card Purchase       12/04 Mac Faucets 866-5583200 CA Card 3129                                         $226.63
               12/05         Card Purchase      12/05 Waste Connections Httpswww.Wast TX Card 3129                                    173.15
               12/06         Card Purchase      12/04 The Home Depot #0589 Dallas TX Card 3129                                        135.59
               12/06         Card Purchase      12/04 The Home Depot #6537 Mesquite TX Card 3129                                      150.03
               12/06         Card Purchase      12/04 The Home Depot #0589 Dallas TX Card 3129                                         55.99
               12/06         Card Purchase      12/05 The Home Depot 6504 Richardson TX Card 3129                                       1.00
               12/06         Card Purchase       12/05 Kwik Kar 972-2795823 TX Card 3129                                              164.36
               12/06         Card Purchase      12/05 The Home Depot 6504 Richardson TX Card 3129                                     155.85
               12/07         Card Purchase      12/05 The Home Depot #0553 Garland TX Card 3129                                       114.83
               12/07         Card Purchase      12/05 The Home Depot #0589 Dallas TX Card 3129                                         42.95
               12/07         Card Purchase      12/05 The Home Depot #6502 Allen TX Card 3129                                         124.93
               12/07         Card Purchase      12/05 The Home Depot #6504 Richardson TX Card 3129                                     26.81
               12/07         Card Purchase       12/06 VAN Marcke Trade Supply Fortworth TX Card 3129                                 213.08
               12/12         Card Purchase       12/11 IN *Thompson J.E.T. Ll 817-3505376 TX Card 3129                                 80.33
               12/12         Card Purchase      12/11 City of Dallas Substa 111-222-3333 TX Card 8313                                 100.00
               12/12         Card Purchase      12/11 Qt 895 Outside FT Worth TX Card 8461                                             70.57
               12/12         Card Purchase      12/11 Qt 895 Inside FT Worth TX Card 8461                                              26.63
               12/12         Card Purchase      12/11 The Home Depot 6579 Terrell TX Card 6838                                         59.86
               12/12         Card Purchase      12/12 City of Irving Buildi 972-721-4883 TX Card 8313                                  65.00
               12/12         Card Purchase      12/11 Higginbotham Bros #5 9035674077 TX Card 6838                                    112.53
               12/12         Card Purchase      12/11 City of Dallas Substa 111-222-3333 TX Card 8313                                 100.00
               12/12         Card Purchase      12/11 City of Dallas Substa 111-222-3333 TX Card 8313                                 100.00
               12/12         Card Purchase      12/11 Exxon 7-Eleven 34703 Plano TX Card 6549                                          51.79
               12/13         Card Purchase      12/11 Racetrac609 00006098 Dallas TX Card 8339                                         68.39
               12/13         Card Purchase       12/12 Shell Oil 12746132005 Rockwall TX Card 6804                                     71.05
               12/13         Card Purchase      12/12 Qt 1921 Outside Princeton TX Card 7067                                           54.09
               12/13         Card Purchase      12/12 Ferguson Enterprises#11 Irving TX Card 6549                                     141.23
               12/13         Card Purchase      12/12 Qt 923 Dallas TX Card 8578                                                       67.97
               12/13         Card Purchase      12/12 Exxon Express 1 Stop Quinlan TX Card 8271                                        70.00
               12/13         Card Purchase      12/12 Texaco 0303672 Carrollton TX Card 6960                                           80.00
               12/13         Card Purchase      12/12 The Home Depot 6534 Fort Worth TX Card 6804                                      83.96
               12/13         Card Purchase      12/12 The Home Depot 6816 Dallas TX Card 6838                                         200.00
               12/13         Card Purchase      12/12 Moore Supply 717-299-3611 TX Card 6804                                        1,655.10
               12/13         Card Purchase      12/12 The Home Depot 589 Dallas TX Card 8339                                          301.22
               12/13         Card Purchase      12/12 The Home Depot 6816 Dallas TX Card 6838                                          57.79
               12/13         Card Purchase      12/12 Lowes #01199* Allen TX Card 6960                                                133.84
               12/13         Card Purchase      12/12 Lowes #01199* Allen TX Card 6960                                                 21.39
               12/13         Card Purchase      12/12 Mavis04461 Frisco TX Card 7067                                                   29.99
               12/13         Card Purchase      12/12 Csc Servicework Bedford TX Card 6549                                              2.50
*end*atm debit withdrawal




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                                                                                                       Account Number:    6026




          ATM & DEBIT CARD WITHDRAWALS (continued)
                   DATE      DESCRIPTION                                                                                                  AMOUNT

                12/13        Card Purchase With Pin 12/13 Brookshires Fuel 880 E Canton TX Card 6044                                        57.32
                12/14        Card Purchase       12/12 Autozone #5799 Dallas TX Card 8271                                                   52.47
                12/14        Card Purchase       12/12 The Home Depot #8976 Lancaster TX Card 8313                                         418.88
                12/14        Card Purchase       12/12 The Home Depot #0537 Euless TX Card 8461                                            672.68
                12/14        Card Purchase       12/13 Qt 1921 Outside Princeton TX Card 7067                                               31.86




                                                                                                                                                    10164920603000000066
                12/14        Card Purchase       12/13 The Home Depot 6555 Carrollton TX Card 7026                                          64.89
                12/14        Card Purchase       12/13 Csc Servicework Dallas TX Card 8271                                                   2.50
                12/14        Card Purchase       12/13 The Home Depot 537 Euless TX Card 6549                                                1.00
                12/14        Card Purchase       12/13 The Home Depot 589 Dallas TX Card 8339                                              107.50
                12/14        Card Purchase       12/13 The Home Depot 6816 Dallas TX Card 8271                                             171.91
                12/14        Card Purchase       12/13 The Home Depot 6557 Irving TX Card 7026                                              96.34
                12/14        Card Purchase       12/13 Qt 932 Dallas TX Card 8578                                                           17.40
                12/14        Card Purchase       12/13 The Home Depot 537 Euless TX Card 6549                                               87.39
                12/14        Card Purchase       12/13 The Home Depot 537 Euless TX Card 6549                                               29.09
                12/14        Card Purchase       12/13 Sunoco 8001793202 Dallas TX Card 8461                                                65.02
                12/14        Card Purchase       12/13 Csc Servicework Bedford TX Card 6549                                                  2.50
                12/15        Card Purchase       12/14 Shell Oil 12746132005 Rockwall TX Card 7026                                          69.97
                12/15        Recurring Card Purchase 12/15 Verizonwrlss*Rtccr Vb 800-922-0204 FL Card 3129                                 914.62
                12/15        Recurring Card Purchase 12/15 Verizonwrlss*Rtccr Vb 800-922-0204 FL Card 3129                                 250.60
                12/15        Card Purchase       12/14 Moore Supply 717-299-3611 TX Card 6804                                              811.71
                12/15        Card Purchase       12/14 The Home Depot 6533 N Richland HI TX Card 8172                                      188.99
                12/15        Card Purchase       12/14 The Home Depot 529 Fort Worth TX Card 8578                                          181.42
                12/15        Card Purchase       12/14 Sunbelt Rentals #0565 Lewisville TX Card 8388                                     2,041.65
                12/15        Card Purchase       12/14 The Home Depot 551 Plano TX Card 6838                                                13.91
                12/15        Card Purchase       12/14 The Home Depot 551 Plano TX Card 6838                                               287.57
                12/15        Card Purchase       12/14 The Home Depot 529 Fort Worth TX Card 8578                                          114.07
                12/15        Card Purchase       12/14 The Home Depot 589 Dallas TX Card 6960                                               28.08
                12/15        Card Purchase       12/14 Arrow Pest Control Desoto TX Card 8313                                              119.08
                12/15        Card Purchase       12/14 Qt 893 Plano TX Card 6549                                                            51.80
                12/15        Card Purchase       12/14 Autozone #3989 Forney TX Card 8339                                                   61.68
                12/15        Card Purchase With Pin 12/15 Tiger Mart #22 Forney TX Card 6739                                                89.30
                12/18        Card Purchase       12/14 The Home Depot #6513 Frisco TX Card 8313                                             31.91
                12/18        Card Purchase       12/14 Racetrac 198 00001982 Dallas TX Card 8271                                            37.29
                12/18        Card Purchase       12/14 Racetrac609 00006098 Dallas TX Card 6804                                             72.81
                12/18        Card Purchase       12/15 7-Eleven 37637 Frisco TX Card 8339                                                   35.00
                12/18        Card Purchase       12/15 Chevron 0384685 Venus TX Card 8578                                                   65.31
                12/18        Card Purchase       12/16 Parkmobile 770-818-9036 TX Card 6549                                                  0.95
                12/18        Card Purchase       12/15 Exxon Tiger Mart #22 Forney TX Card 7067                                             42.54
                12/18        Card Purchase       12/15 Exxon Tiger Mart #22 Forney TX Card 8172                                             75.48
                12/18        Card Purchase       12/15 7-Eleven 35419 Dallas TX Card 8271                                                   60.00
                12/18        Card Purchase       12/15 The Home Depot 507 Grand Prairie TX Card 7067                                       136.90
                12/18        Card Purchase       12/15 7-Eleven 35397 Grapevine TX Card 6838                                                60.00
                12/18        Card Purchase       12/15 Exxon 7-Eleven 36311 Arlington TX Card 6960                                          80.23
                12/18        Card Purchase       12/15 The Home Depot 6534 Fort Worth TX Card 6960                                          72.53
                12/18        Card Purchase       12/15 The Home Depot 6502 Allen TX Card 6838                                               53.52
                12/18        Card Purchase       12/15 The Home Depot 6537 Mesquite TX Card 8461                                           125.03
                12/18        Recurring Card Purchase 12/16 Sba Loan Payment 303-844-2084 CO Card 3129                                    2,460.00
                12/18        Card Purchase       12/16 Raceway6828 77068286 Mesquite TX Card 8461                                           63.39
                12/18        Card Purchase       12/16 76 - Cedars Village Mar Dallas TX Card 8271                                          37.39
                12/18        Card Purchase       12/17 Shell Oil 57542767009 Rockwall TX Card 8172                                          87.50
                12/18        Card Purchase With Pin 12/17 Buc-Ee's #36 Outside Terrell TX Card 6044                                        113.27
*end*atm debit withdrawal




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          ATM & DEBIT CARD WITHDRAWALS (continued)
                  DATE       DESCRIPTION                                                                                              AMOUNT

               12/19         Card Purchase       12/18 The Home Depot 6816 Dallas TX Card 6549                                          1.00
               12/19         Card Purchase       12/18 The Home Depot 6816 Dallas TX Card 6549                                         42.11
               12/19         Card Purchase       12/18 Shell Oil 12746132005 Rockwall TX Card 8339                                     66.50
               12/19         Card Purchase       12/18 The Home Depot 6814 Fort Worth TX Card 8578                                    202.45
               12/19         Card Purchase       12/18 The Home Depot 6814 Fort Worth TX Card 8578                                      1.00
               12/19         Card Purchase       12/18 The Home Depot 587 Southlake TX Card 6960                                       21.75
               12/19         Card Purchase       12/18 The Home Depot 6502 Allen TX Card 6838                                         103.80
               12/19         Card Purchase       12/18 The Home Depot 6557 Irving TX Card 8339                                         33.50
               12/19         Card Purchase       12/18 Ferguson Ent LLC #2806 Fort Worth TX Card 8461                                 101.08
               12/19         Card Purchase       12/18 The Home Depot 6816 Dallas TX Card 6549                                        128.47
               12/19         Card Purchase       12/18 The Home Depot 554 Arlington TX Card 6960                                       69.62
               12/19         Card Purchase With Pin 12/19 Union Valley Ti Royse City TX Card 6739                                      96.27
               12/20         Card Purchase       12/18 Autozone #5798 Dallas TX Card 8339                                              71.19
               12/20         Card Purchase       12/19 Shell Oil 12746132005 Rockwall TX Card 7026                                     64.86
               12/20         Card Purchase       12/19 The Home Depot 554 Arlington TX Card 8339                                       92.09
               12/20         Card Purchase       12/19 The Home Depot 6816 Dallas TX Card 8172                                         76.25
               12/20         Card Purchase       12/19 The Home Depot 6814 Fort Worth TX Card 8461                                    308.62
               12/20         Card Purchase       12/19 Nayax Air 2 Hunt Valley MD Card 6549                                             2.00
               12/20         Card Purchase       12/19 7-Eleven 34725 Arlington TX Card 8339                                           62.11
               12/20         Card Purchase       12/19 Csc Servicework Irving TX Card 6549                                              2.00
               12/20         Card Purchase       12/19 Fuel City Mesquite TX Card 8461                                                 70.43
               12/20         Card Purchase       12/19 The Home Depot 554 Arlington TX Card 6838                                      112.48
               12/21         Card Purchase       12/20 7-Eleven 38938 Fort Worth TX Card 7067                                          54.21
               12/21         Card Purchase       12/20 Exxon Ck 127 Tawakon West Tawakoni TX Card 8172                                 79.34
               12/21         Card Purchase       12/20 Exxon Ck 127 Tawakon West Tawakoni TX Card 8271                                 41.97
               12/21         Card Purchase       12/20 Qt 900 Dallas TX Card 6960                                                      92.69
               12/21         Card Purchase       12/20 The Home Depot 6502 Allen TX Card 6838                                         220.23
               12/21         Card Purchase       12/20 The Home Depot 6804 Dallas TX Card 8271                                        400.00
               12/21         Card Purchase        12/20 Discount-Tire-CO Txd-30 Carrollton TX Card 6549                                49.26
               12/21         Card Purchase       12/20 The Home Depot 527 Plano TX Card 6804                                           58.02
               12/21         Card Purchase       12/20 Lowes #00515* Dallas TX Card 6549                                               83.50
               12/21         Card Purchase       12/20 The Home Depot 527 Plano TX Card 6838                                           89.66
               12/21         Card Purchase       12/20 The Home Depot 6804 Dallas TX Card 7067                                         43.13
               12/21         Card Purchase       12/20 The Home Depot 6814 Fort Worth TX Card 8578                                    469.56
               12/21         Card Purchase With Pin 12/21 Shell Service Station Tyler TX Card 6044                                     75.85
               12/22         Card Purchase        12/20 Racetrac 630 00006304 Garland TX Card 6549                                     56.62
               12/22         Card Purchase       12/21 Chevron 0384685 Venus TX Card 8578                                              60.81
               12/22         Card Purchase       12/21 White Star Mart Mesquite TX Card 6838                                           65.00
               12/22         Card Purchase       12/21 7-Eleven 35769 Forney TX Card 7067                                              58.97
               12/22         Card Purchase       12/21 The Home Depot 6833 Plano TX Card 6549                                         150.44
               12/22         Card Purchase       12/21 The Home Depot 6833 Plano TX Card 6838                                          64.52
               12/22         Card Purchase       12/21 The Home Depot 527 Plano TX Card 6549                                          128.37
               12/22         Card Purchase       12/21 Exxon Tiger Mart #21 Venus TX Card 8172                                         81.53
               12/22         Card Purchase       12/21 Texaco 0384819 Dallas TX Card 8271                                              95.01
               12/22         Card Purchase       12/22 Napa Auto Accessories 815-277-5440 IL Card 8313                                293.89
               12/22         Card Purchase       12/21 The Home Depot 542 Fort Worth TX Card 8172                                       2.14
               12/22         Card Purchase With Pin 12/22 Tiger Mart #22 Forney TX Card 6739                                           86.72
               12/26         Card Purchase       12/21 Racetrac 2446 00724468 Greenville TX Card 6804                                  27.24
               12/26         Card Purchase       12/21 The Home Depot 6502 Allen TX Card 6838                                         220.77
               12/26         Card Purchase        12/22 Racetrac 630 00006304 Garland TX Card 6549                                     41.62
               12/26         Card Purchase       12/22 Xpress Point Greenville TX Card 6804                                            78.03
*end*atm debit withdrawal




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          ATM & DEBIT CARD WITHDRAWALS (continued)
                   DATE      DESCRIPTION                                                                                             AMOUNT

                12/26        Card Purchase       12/22 Exxon Tiger Mart #22 Forney TX Card 8339                                       60.67
                12/26        Card Purchase       12/22 Nayax Air 2 Hunt Valley MD Card 8339                                            2.00
                12/26        Card Purchase       12/22 Wolf Trailers Terrell TX Card 7067                                            283.05
                12/26        Card Purchase       12/22 Circle K Dealer #05894 Dallas TX Card 6804                                     40.00
                12/26        Card Purchase       12/22 Exxon Tiger Mart #22 Forney TX Card 7067                                       45.45




                                                                                                                                              10164920604000000066
                12/26        Card Purchase       12/22 The Home Depot 551 Plano TX Card 6549                                         235.47
                12/26        Card Purchase       12/22 Exxon Tiger Mart #22 Forney TX Card 6044                                       39.38
                12/26        Card Purchase       12/22 The Home Depot 8521 White Settlem TX Card 6804                                 23.58
                12/26        Card Purchase       12/22 Lowes #01199* Allen TX Card 8271                                               66.34
                12/26        Card Purchase       12/22 The Home Depot 6557 Irving TX Card 6960                                         7.01
                12/26        Card Purchase       12/22 Racetrac504 00005041 Dallas TX Card 8461                                       62.34
                12/26        Card Purchase       12/23 Shell Oil 12746132005 Rockwall TX Card 8339                                    78.60
                12/26        Card Purchase       12/24 Exxon Tiger Mart #22 Forney TX Card 6960                                       74.11
                12/27        Card Purchase       12/26 Shell Oil 12746132005 Rockwall TX Card 8339                                    59.60
                12/27        Card Purchase       12/26 Exxon Ck 127 Tawakon West Tawakoni TX Card 8172                                59.76
                12/27        Card Purchase       12/26 The Home Depot 0598 Dallas TX Card 6960                                       230.58
                12/27        Card Purchase       12/26 Trinity Valley Electr 972-932-2214 TX Card 3129                               466.00
                12/27        Card Purchase       12/26 The Home Depot 6804 Dallas TX Card 6804                                        16.22
                12/27        Card Purchase       12/26 The Home Depot 527 Plano TX Card 6838                                         200.00
                12/27        Card Purchase       12/26 The Home Depot 551 Plano TX Card 6549                                          14.70
                12/27        Card Purchase       12/26 The Home Depot 527 Plano TX Card 6838                                         447.29
                12/27        Card Purchase       12/26 The Home Depot 542 Fort Worth TX Card 7067                                    214.10
                12/27        Card Purchase       12/26 VAN Marcke 1134 Fortworth TX Card 7067                                        151.59
                12/27        Card Purchase       12/26 VAN Marcke 1134 Fortworth TX Card 7067                                         25.75
                12/27        Card Purchase       12/26 The Home Depot 0598 Dallas TX Card 6960                                        28.08
                12/27        Card Purchase       12/26 7-Eleven 35662 Fort Worth TX Card 7067                                         59.27
                12/27        Card Purchase With Pin 12/27 Shell Service Station Forney TX Card 3129                                  104.05
                12/28        Card Purchase       12/26 Xpress Point Greenville TX Card 6804                                           36.45
                12/28        Card Purchase       12/26 The Home Depot #0564 Dallas TX Card 6549                                      609.51
                12/28        Card Purchase        12/26 Racetrac2371 00023713 Plano TX Card 6838                                      34.14
                12/28        Card Purchase       12/27 City of Dallas Substa 111-222-3333 TX Card 8313                               100.00
                12/28        Card Purchase       12/27 City of Dallas Substa 111-222-3333 TX Card 8313                               100.00
                12/28        Card Purchase       12/27 The Home Depot 550 Dallas TX Card 8339                                        197.22
                12/28        Card Purchase       12/27 The Home Depot 550 Dallas TX Card 8339                                        180.41
                12/28        Card Purchase       12/27 Moore Supply Company Mesquite TX Card 6804                                    774.31
                12/28        Card Purchase       12/27 The Home Depot 6804 Dallas TX Card 6549                                       215.42
                12/28        Card Purchase       12/27 The Home Depot 550 Dallas TX Card 8172                                         51.92
                12/28        Card Purchase       12/27 The Home Depot 550 Dallas TX Card 6838                                        102.79
                12/28        Card Purchase       12/27 The Home Depot 589 Dallas TX Card 8271                                        262.45
                12/28        Card Purchase       12/27 National Wholesale Supp Richardson TX Card 8461                                49.19
                12/28        Card Purchase       12/27 The Home Depot 551 Plano TX Card 6549                                         101.91
                12/28        Card Purchase       12/27 Exxon Chilly Mart # 12 Haltom City TX Card 8461                                42.81
                12/28        Card Purchase       12/27 Autozone #3983 Quinlan TX Card 8172                                            16.31
                12/28        Card Purchase       12/27 Chevron 0105972 Dallas TX Card 6804                                            54.10
                12/28        Card Purchase       12/27 Exxon Tiger Mart #22 Forney TX Card 7026                                       62.35
                12/28        Card Purchase With Pin 12/28 Union Valley Ti Royse City TX Card 6739                                     95.93
                12/29        Card Purchase       12/27 Reames Market Greenville TX Card 8271                                          78.90
                12/29        Card Purchase       12/27 Autozone #5799 Dallas TX Card 8271                                             51.94
                12/29        Card Purchase       12/28 Chevron 0358914 Nevada TX Card 7067                                             0.04
                12/29        Card Purchase       12/28 Chevron 0358914 Nevada TX Card 7067                                            55.19
                12/29        Card Purchase       12/28 The Home Depot 542 Fort Worth TX Card 7026                                     89.78
*end*atm debit withdrawal




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ATM & DEBIT CARD WITHDRAWALS (continued)
DATE     DESCRIPTION                                                                                            AMOUNT

12/29    Card Purchase      12/28 The Home Depot 6557 Irving TX Card 8339                                        652.91
12/29    Card Purchase      12/28 The Home Depot 527 Plano TX Card 6838                                          400.91
12/29    Card Purchase      12/28 The Home Depot 0598 Dallas TX Card 6804                                         62.37
12/29    Card Purchase      12/28 The Home Depot 550 Dallas TX Card 7067                                         165.86
12/29    Card Purchase      12/28 The Home Depot 6804 Dallas TX Card 8339                                        222.37
12/29    Card Purchase      12/28 Sp Ocmounts.Com Httpsocmounts CA Card 8313                                     284.81
12/29    Card Purchase With Pin 12/29 Nat 24 Canton Canton TX Card 6044                                           28.55
Total ATM & Debit Card Withdrawals                                                                      $29,479.20




Nathan J Smith Card 3129
                          Total ATM Withdrawals & Debits                                                      $0.00
                          Total Card Purchases                                                            $5,860.80
                          Total Card Deposits & Credits                                                       $0.00
Brandy P Smith Card 6044
                          Total ATM Withdrawals & Debits                                                          $0.00
                          Total Card Purchases                                                                  $314.37
                          Total Card Deposits & Credits                                                           $0.00
Frederick C Gray Card 6549
                          Total ATM Withdrawals & Debits                                                      $0.00
                          Total Card Purchases                                                            $2,230.65
                          Total Card Deposits & Credits                                                       $0.00
William Sutton Card 6739
                          Total ATM Withdrawals & Debits                                                          $0.00
                          Total Card Purchases                                                                  $368.22
                          Total Card Deposits & Credits                                                           $0.00
Caleb Bane Card 6804
                          Total ATM Withdrawals & Debits                                                      $0.00
                          Total Card Purchases                                                            $3,864.95
                          Total Card Deposits & Credits                                                      $31.13
Isaiah Barnes Card 6838
                          Total ATM Withdrawals & Debits                                                      $0.00
                          Total Card Purchases                                                            $2,906.77
                          Total Card Deposits & Credits                                                    $188.37
Brian Benford Card 6960
                          Total ATM Withdrawals & Debits                                                          $0.00
                          Total Card Purchases                                                                  $939.91
                          Total Card Deposits & Credits                                                           $0.00
Craig Cody Card 7026
                          Total ATM Withdrawals & Debits                                                          $0.00
                          Total Card Purchases                                                                  $448.19
                          Total Card Deposits & Credits                                                           $0.00
Calvin Fergerson Card 7067
                       Total ATM Withdrawals & Debits                                                        $0.00
                       Total Card Purchases                                                              $1,451.99

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                                            Total Card Deposits & Credits                                                                                $0.00
         David Lorenz Card 8172
                                            Total ATM Withdrawals & Debits                                                                            $0.00
                                            Total Card Purchases                                                                                    $719.22
                                            Total Card Deposits & Credits                                                                             $0.00
         Anthony Melendez Card 8271
                                            Total ATM Withdrawals & Debits                                                                            $0.00




                                                                                                                                                                 10164920605000000066
                                            Total Card Purchases                                                                                  $1,428.17
                                            Total Card Deposits & Credits                                                                          $268.04
         Gregory Roberts Card 8313
                                            Total ATM Withdrawals & Debits                                                                            $0.00
                                            Total Card Purchases                                                                                  $1,713.57
                                            Total Card Deposits & Credits                                                                             $0.00
         David Sikes Card 8339
                                            Total ATM Withdrawals & Debits                                                                            $0.00
                                            Total Card Purchases                                                                                  $2,352.96
                                            Total Card Deposits & Credits                                                                             $0.00
         Stephanie Marie Yvon Card 8388
                                            Total ATM Withdrawals & Debits                                                                            $0.00
                                            Total Card Purchases                                                                                  $2,041.65
                                            Total Card Deposits & Credits                                                                             $0.00
         Tommy Cleve Renfrow Card 8461
                                            Total ATM Withdrawals & Debits                                                                            $0.00
                                            Total Card Purchases                                                                                  $1,657.79
                                            Total Card Deposits & Credits                                                                             $0.00
         James Sutton Card 8578
                                            Total ATM Withdrawals & Debits                                                                            $0.00
                                            Total Card Purchases                                                                                  $1,179.99
                                            Total Card Deposits & Credits                                                                             $0.00
         ATM & Debit Card Totals
                                            Total ATM Withdrawals & Debits                                                                           $0.00
                                            Total Card Purchases                                                                                $29,479.20
                                            Total Card Deposits & Credits                                                                         $487.54

        ELECTRONIC WITHDRAWALS
                   DATE       DESCRIPTION                                                                                                               AMOUNT

               12/05          12/05 Transfer To Chk Xxxxx9198                                                                                     $5,000.00
               12/08          Orig CO Name:Intuit         Orig ID:9215986206 Desc Date:231208 CO Entry                                                    0.33
                              Descr:Acctverifysec:PPD Trace#:021000029561853 Eed:231208 Ind ID:
                              Ind Name:Fredrick Lee Press Plu Trn: 3429561853Tc
               12/08          12/08 Online Transfer To Chk 8950 Transaction#: 19233112062
                                                         .................................................                                              786.75
               12/11          12/11 Online Transfer To Chk 8950 Transaction#: 19264481384
                                                         .................................................                                              750.00
               12/15          12/15 Online Domestic Wire Transfer Via: Inwood Dallas/111001040 A/C: John Young                                      4,200.00
                              Construction Ennis TX 75119 US Ref: Fred's Plumbing Imad: 1215Mmqfmp2L007173 Trn:
                              3116163349Es
               12/15          12/15 Online Domestic Wire Transfer A/C: Ross & Smith, PC IOLTA Trust Dallas TX                                       1,500.00
                              75201-7459 US Ref: Fredrick Lee Press Plumbing LLC Trn: 3271093349Es
               12/15          12/15 Online Transfer To Chk 8950 Transaction#: 19299028517
                                                         .................................................                                            786.75
               12/15          Zelle Payment To Stephanie Yvon Jpm99A6J4Bwi                                                                            932.07
               12/15          Zelle Payment To Stephanie Yvon Jpm99A6J4Cds                                                                          1,109.16
*end*electronic withdrawal




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ELECTRONIC WITHDRAWALS
DATE     DESCRIPTION                                                                                                                             AMOUNT

12/18    Orig CO Name:Health Care Serv     Orig ID:3000027465 Desc Date:121823 CO Entry                                                   13,700.20
         Descr:Obppaymt Sec:CCD Trace#:043000264763317 Eed:231218 Ind ID:1967512141
         Ind Name:Frederick Lee Press Pl Trn: 3524763317Tc
12/18    12/16 Online Transfer To Chk 1339 Transaction#: 19310333184
                                    ................................................                                                      10,000.00
12/19    Orig CO Name:Webfile Tax Pymt      Orig ID:2146000311 Desc Date:    CO Entry Descr:Dd                                             7,455.12
         Sec:CCD Trace#:021000025568254 Eed:231219 Ind ID:902/74269720                 Ind
         Name:33311/12345/EDI/Xml -                                                      Cpa
         Tax Payments Trn: 3535568254Tc
12/20    Orig CO Name:Acuity             Orig ID:1390491540 Desc Date:231218 CO Entry Descr:Ins                                           17,763.75
         Prem Sec:Web Trace#:075901137672572 Eed:231220 Ind ID:Zl0904                     Ind
         Name:Fredrick Lee Press Plu Trn: 3547672572Tc
12/20    Orig CO Name:The Lane Law Fir      Orig ID:1742354575 Desc Date:    CO Entry                                                       2,500.00
         Descr:Corp Coll Sec:CCD Trace#:114000099856893 Eed:231220 Ind ID:
         Ind Name:Fredrick Lee Press Plu Trn: 3549856893Tc
12/21    12/21 Online Transfer To Chk 1339 Transaction#: 19358711744
                                    ................................................                                                      10,000.00
12/22    Zelle Payment To Stephanie Yvon Jpm99A6Vjagp                                                                                      1,019.01
12/22    Zelle Payment To Stephanie Yvon Jpm99A6Vjibq                                                                                        784.72
12/22    12/22 Online Transfer To Chk 8950 Transaction#: 19365412935
                                    ................................................                                                         786.75
12/22    12/22 Online Domestic Wire Transfer Via: Inwood Dallas/111001040 A/C: John Young                                                  3,100.00
         Construction Ennis TX 75119 US Ref: Fred's Plumbing Imad: 1222Mmqfmp2N033080 Trn:
         3678383356Es
12/26    Orig CO Name:Intuit *        Orig ID:0000756346 Desc Date:231223 CO Entry                                                               213.20
         Descr:Qbooks Onlsec:CCD Trace#:021000020064929 Eed:231226 Ind ID:3741657
         Ind Name:Fredrick Lee Press Plu
         800-446-8848 Trn: 3600064929Tc
12/27    12/27 Online Payment 19407518393 To Lincoln Automotive Financial                                                                  1,032.04
12/27    12/27 Online Payment 19407500569 To Ford Motor Credit                                                                            20,047.49
12/27    12/27 Online Domestic Wire Transfer Via: Inwood Dallas/111001040 A/C: John Young                                                  4,200.00
         Construction Ennis TX 75119 US Ref: Fred's Plumbing Imad: 1227Mmqfmp2L031551 Trn:
         3569213361Es
12/29    12/29 Online Transfer To Chk 8950 Transaction#: 19428559119
                                    ................................................                                                          786.75
12/29    Zelle Payment To Stephanie Yvon Jpm99A779Vqx                                                                                       1,241.76
12/29    Zelle Payment To Stephanie Yvon Jpm99A779Wb8                                                                                       1,103.66
Total Electronic Withdrawals                                                                                                           $110,799.51

OTHER WITHDRAWALS
DATE     DESCRIPTION                                                                                                                             AMOUNT

12/08    12/08 Withdrawal                                                                                                                 $2,400.00
Total Other Withdrawals                                                                                                                   $2,400.00

FEES
DATE     DESCRIPTION                                                                                                                             AMOUNT

12/12    Orig CO Name:Check OR Supply       Orig ID:1410216800 Desc Date:231208 CO Entry                                                         $20.00
         Descr:Order   Sec:PPD    Trace#:042000019658979 Eed:231212 Ind ID:
         Ind Name:Fredrick Lee P P LLC Trn: 3469658979Tc
Total Fees                                                                                                                                       $20.00




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                                                                                              Account Number:     6026




 DAILY ENDING BALANCE
DATE                           AMOUNT           DATE                        AMOUNT              DATE                              AMOUNT


12/05                        $16,291.66        12/13                      32,601.98             12/21                        70,769.01
12/06                         22,060.74        12/14                      45,936.18             12/22                        58,596.94
12/07                         20,910.89        12/15                      85,035.70             12/26                        64,800.82
12/08                         19,118.82        12/18                      65,694.19             12/27                        36,833.89




                                                                                                                                           10164920606000000066
12/11                         27,511.69        12/19                      75,377.58             12/28                        46,333.84
12/12                         24,016.59        12/20                      74,195.50             12/29                        53,354.42


SERVICE CHARGE SUMMARY

Monthly Service Fee                                                   $0.00
Other Service Charges                                               $250.00
Total Service Charges                                               $250.00 Will be assessed on 1/4/24


SERVICE CHARGE DETAIL
DESCRIPTION                                            VOLUME       ALLOWED      CHARGED          PRICE/ UNIT                 TOTAL

Monthly Service Fee
Monthly Service Fee Waived                                     0                                         $95.00                   $0.00
No Hassle Fees
ATM - Non Chase Inquiry                                         1   Unlimited             0               $2.50                   $0.00
Other Service Charges:
Electronic Credits
Electronic Items Deposited                                    82    Unlimited             0               $0.40                   $0.00
Electronic Credits                                            22    Unlimited             0               $0.40                   $0.00
Credits
Non-Electronic Transactions                                   376        500              0               $0.40                   $0.00
Electronic Credits
Domestic Incoming Wire Fee                                      9   Unlimited             0              $15.00                   $0.00
Miscellaneous Fees
Online Domestic Wire Fee                                        4          4              0              $25.00                   $0.00
Cash Management Services
Quick Deposit Cancellation Fee                                  1          0              1             $250.00              $250.00
Subtotal Other Service Charges (Will be assessed on 1/4/24)                                                                  $250.00

ACCOUNT 000000569116026
Other Service Charges:
Electronic Credits
Electronic Items Deposited                                    82
Electronic Credits                                            11
Credits
Non-Electronic Transactions                                   268
Miscellaneous Fees
Online Domestic Wire Fee                                        4
Cash Management Services
Quick Deposit Cancellation Fee                                  1

ACCOUNT 000000836130879
Credits
Non-Electronic Transactions                                   16

ACCOUNT 000000957279166
No Hassle Fees




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                                                                                                                          Account Number:       6026



                                                                       (continued)
SERVICE CHARGE DETAIL
DESCRIPTION                                                                  VOLUME         ALLOWED         CHARGED           PRICE/ UNIT                   TOTAL

ATM - Non Chase Inquiry                                                              1
Other Service Charges:
Electronic Credits
Electronic Credits                                                                  11
Credits
Non-Electronic Transactions                                                         92
Electronic Credits
Domestic Incoming Wire Fee                                                           9



IN CASE OF ERRORS OR QUESTIONS ABOUT YOUR ELECTRONIC FUNDS TRANSFERS:

Call us at 1-866-564-2262 or write us at the address on the front of this statement immediately if you think your statement or receipt is incorrect or if
you need more information about a transfer listed on the statement or receipt.

For personal accounts only: We must hear from you no later than 60 days after we sent you the FIRST statement on which the problem or error
appeared. Be prepared to give us the following information:

                          •   Your name and account number;
                          •   A description of the error or the transaction you are unsure about, and why you think it is an error or want more information; and
                          •   The amount of the suspected error.
We will investigate your complaint and will correct any error promptly. If we take more than 10 business days (or 20 business days for new
accounts) to do this, we will credit your account for the amount you think is in error so that you will have use of the money during the time it takes
us to complete our investigation.
 For business accounts, see your deposit account agreement or other applicable agreements that govern your account for details.
IN CASE OF ERRORS OR QUESTIONS ABOUT NON-ELECTRONIC FUNDS TRANSFERS : Contact us immediately if your statement is
incorrect or if you need more information about any non-electronic funds transfers on this statement. For more details, see your deposit account
agreement or other applicable agreements that govern your account.

                                                                                                                      JPMorgan Chase Bank, N.A. Member FDIC

disclosure message area




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        CHASE.                                                                               December 01,2023 through December 29, 2023
        ‫ل‬PMorgan Chase Sank. Ν.Α.                                                             Account Number:                     9198
        ΡΟΒοχ132051
        Columbus, OH 43218-2051

                                                                                           CUSTOMER SERV!CE !NFORMAT.ON
     00138343        1   AV   00.498
                                                                                           Web sile:                  www.Chase.com
        ‫ ا‬٠‫ا‬,‫اا‬٠‫اااااا‬٠‫اا‬٠‫ااا‬٠‫اا‬٠,‫اا«ااااااا‬٠‫ا‬٠‫ا‬٠‫اااا!اااااااا!اا<ا‬,»!٠٠٠‫ا‬                 Service Centers              1-877-425-8100
    00138343 DRE 201 143 38423 NNNNNNNNNNN ٢ 1 ooooooooo 64 ®0,817 PI 764                  Para Espanol:                1-888-622-4273

     FREDRICK LEE PRESS PLUMBING, LLC                                                      Interna{ional Calls:         1-713-262-1679
     9056 FM 1641                                                                          We accept operator relay calls
     TERRELL TX 75160-7366




                                                      Chase Platinum Business Checking
 CHECK!NG SUMMARY
                                                           !NSTANCES                      AMOUNT

 Beginning Balance                                                                     $37.654.73
 Deposits and Additions                                                7                36,006.12
 Checks Paid                                                         21                -24,722.06
 ATM & Debil Card Withdrawals                                        13                 -6,616.11
 Electronic Withdrawals                                              12                -38,491.68
 Other Withdrawals                                                     1                .3,600.00
 Fees                                                                  1                  -231.00

 Ending Balance                                                      55                      $0.00


Your Chase Platinum Business Chwking aacount provides;
٠   No transaction tees tor unlimited electronic deposits (including ACH, ATM, wire. Chase Quick Deposit)
٠   500 debits and non-electronic deposits (those made via check or cash in branches) per statement cycle
٠   S25.000 in cash deposits per statement cycle
«   Unlimited return deposited items with no tee
There are additional lee waivers and benetits associated with your account - please reler to your Deposit Account
Agreement lor more inlormation.
Please note that this account was closed on 12/12/23.



DEP٥S١TS AND ADDITIONS
DATE             DESCR!PT!ON                                                                                                           AMOUNT

12/01            Remote Online Depoat                      1                                                                     21,886.99
12/01            Qrig CO Name:Rre Parkridge Ho Orig 10:2281350645 Desc Date:231130 CO Eniry                                           7,404.03
                 Descr:Achpmt Sec:CCD Trace#:051000015538702 Eed:231201 tnd 10:2644
                 Ind Name:Fred's Plumbing Trn: 3355538702ТС
12/01            Orig c. Name:Rre Grapevine Ho Orig 10:2181350645 Desc Date:231130 CO Entry                                            523.71
                 DescnAchpmt SecCCD Trace#:051000015538704 Eed:231201 Ind 10:2644
                 Ind Name:Fred's Plumbing Trn: ЗЭ555Э8704ТС
12/04            Remote Online Dşoaţ                       1                                                                      14,113.07
12/05            Remote Online Deposit                     1                                                                          5,440.41
12/05            Transfer From Chk Xxxxx6026                                                                                          5,000.00
12/06            Orig CO NameCw Audelia Renov                      Orig 10:1932300141 Desc Date:       CO Entry                       1,637.91
                 DeScr:Lavd2 12.5Sec:CCD               Тгасе#:113024167273981 Eed:231206           Ind 10:3131386
                 Ind Name:Freds Plumbing                       1019Α1116 Trn: 3397273981ТС

Total Deposits and Additions                                                                                                    $36,006.12



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                                                                                   Account Number:                    9198




CHECKS PAID
                                                                                                     DATE
CHECK NO.             DESCRIPTION                                                                    PAID                   AMOUNT

10432   ٨                                                                                            12/05            SI,428.41
10457   '٨                                                                                           12/01                 1,245.44
10463 '٨                                                                                             12/05                  150.00
10464                                                                                                12/01             2,209.74
10466 ٠٨                                                                                             12/04                 1,245.78
10467                                                                                                12/01             2,967.50
10468   ٨                                                                                            12/01                 1,701.88
10470 ٠٨                                                                                             12/05                 1,908.53
10471                                                                                                12/01                 1,289.47
10472                                                                                                12/04             2,420.48
10473                                                                                                12/01             3,319.08
10474                                                                                                12/01                 1,275.91
10475                                                                                                12/04                  811.26
10477   ٠٨                                                                                           12/04                 1,532.40
10478                                                                                                12/01                    73.40
10479                                                                                                12/01                    54.17
10480                                                                                                12/04                    77.11

10482 ٠٨                                                                                             12/04                    70.00
10483                                                                                                12/06                  173.50
10484   ٨                                                                                            12/04                    25.00
10485   ٨                                                                                            12/06                  743.00

Total Checks Paid                                                                                                   $24.722.06

!، you see a description in the Checks Paid section, it means that we rece!ved on!y e!ectron!c information about the check,
not the original or an image of the check. As a result, we're not able to return the check to you or show you an image.
٠ All of your recent cfiecks may not be on this statement, either because they haven't cleared yet or they were listed on
  one of your previous statements.
  An image of this check may be available for you to view on Chase.com.


ATM & DEBIT CARD WITHDRAWALS
 DATE        DESCRIPTION                                                                                                    AMOUNT

12/01        Recurring Card Purchase 12/01 Google .Gsuite_Freds Cc@Google.Com CA Card 3129                                  S91.76
12/04        Card Purchase        11/30 The Home Depot #6557 Irving TX Card 3129                                              76.99
12/04        Card Purchase        11/30 The Home Depot #0551 Plano TX Card 3129                                             291.05
12/04        Card Purchase        11/30 The Home Depot #6537 Mesquite TX Card 3129                                            77.83

12/04        Recurring Card Purchase 12/01 Razorsync 612-4865420 TN Card 31 gg                                               580.00

12/04       Card Purchase           12/01 Msc 33 Plano 817-870-2227 TX Card 3129                                           4,602.18
12/04        Card Purchase          12/01 The Home Depot #8521 White Settlem TX Card 3129                                    177.38

12/04        Card Purchase          12/01 The Home Depot #0598 Dallas TX Card 3129                                            91.07
12/04        Card Purchase          12/01 PItpayweb 405-936-3600 OK Card 3129                                                 70.75
12/04        Card Purchase          12/01 The Home Depot #6555 Carrollton TX Card 3129                                        90.40
12/04        Card Purchase          12/02 The Home Depot #0537 Euless TX Card 3129                                           143.71
12/04        Card Purchase          12/02 The Home Depot #0598 Dallas TX Card 3129                                          271.61

12/04        Card Purchase          12/02 The Home Depot #0552 Dallas TX Card 3129                                            51.38

Total ATM & Debit Card Withdrawals                                                                                    $6,616.11




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ELECTRON!. WITHDRAWALS
DATE     DESCR‫ا‬PT‫ها‬N                                                                                                  AMOUNT

                                                                                                                SI,501.84
12/01                                                                                                                1,458.09
12/04    Orig CO Name:Gusto             Or!g !0:9138884007 Desc Dalø:231204 co Ent^ DescrFae                          341.12
         764157Ssc:CCD      Trac©#:021000023116062 Eed:231204 !nd !D:6Sømj٧p!f1P          ind
         Name:Fredr!ck Lee Press p!u
         eSemlnOAdht Trn: Э383116062ТС
12/04    12/04On!!ne Domestic wire Transter Via: Inwood Dallas/l 11001040 A/C: John Young                            1,500.00
         Construction Ennis TX 75119 US Ref: Fred's Plumbing ‫ا‬mad: 1204Mmqfmp2M026154 Trn:
         3629453338ES
12/04    Zelle Payment To Stephanie Yvon Jpm99A6Q4Jlq                                                                 130.15
12/05    12/05 .Transfer To Chk Xxxxx6026                                                                       21,690.44
12/05    Orig CO Alarne: Beam-Premium      Orig 10:7611776148 Desc Date:  CO Entry                                    154.20
         DescrEpay       Sec:CCD  Тгасе#:121140393652907 Eed:231205 lndlD:TX26391
         Ind Name:Fređrick Lee Press-Plu Trn; 3393652907ТС
12/06    12/06 Online Transfer To Chk ...6026 Transaction#: 19213282771                                              6,431.90
12/07    12/07 Online Domestic Wire Transfer Via; Inwood DallasZ111001040 A/C: John Young                            2,000.00
         Construction Ennis TX 75119 US Ref: Fred's Plumbing Imad: 1207Mmqfmp2K022486 Trn:
         3392993341 Es

12/08    Zelle Payment To Stephanie Yvon Jpm99A66Rldp                                                                 958.88
12/08    Zelle Payment To Stephanie Yvon Jpm99A66Ria0                                                                1,019.01
12/11    12/11 Online Transfer To Chk...6026 Transaction#; 19261364929                                               1,306.05
Total Electronic Withdrawals                                                                                  $38,491.68


OTHER WITHDRAWALS
DATE     DESCR!PTION                                                                                                  AMOUNT

12/01    12/01 Withdrawal                                                                                       53,600.00
Total Other Withdrawals                                                                                         $3,600.00




DATE     DESCR!PTtON                                                                                                  AMOUNT

12/01     Service Charges For The Month of November                                                                  S231.00
Total Fees                                                                                                           $231.00


DAILY ENDING BALANCE
DATE                                                    AMOUNT

12/01                                                526,450.18
12/04                                                 25,885.60
12/05                                                 10,994.43
12/06                                                  5,283.94
12/07                                                  3,283.94
12/08                                                   1,306.05
12/11                                                        0.00


SERVICE CHARGE SUMMARY

Monthly Service Fee                                                 50.00
Other Service Charges                                               50.00
Total Service Charges                                               $0.00




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                                                                                                             Account Number:                  9198




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         ٠      A description ọl.the error or the transaction you are unsure about, and why you think it is an error or want more information; and
         ٠      The amOunt of the suspected error.

We will investigate
accou'nt‫)؛‬ to d'o this,your complini
                        we will        and will
                                credit your     correctforany
                                            aGcount        the error
                                                               amountpromptly..
                                                                        you ^inkIf we
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                                                                                                so that       business daysof (orthe20mone‫؛‬
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us to complete our investigation.
For business accounts, see your deposit account agreement or other applicable agréments that govern your account for details.
IN CASE OF ERRORS OR QUESTIONS ABOUT NON.ELECTRONIC FUNDS TRANSFERS; Contact US immediately if your statement is
incorrect or if you need more information about any non-el^tronic funds transfers on this statement. For more details, see your deposit account
agreement or other applicable agreements ttiat govern your account.

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